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(COUNSEL FOR CREDITOR)

IN THE UNITED STATES BANKRUPTCY
COURT FOR THE SOUTHERN DISTRICT OF
NEW YORK
In Re:
                                                         Chapter: 13
George J. Campolo
Debtor(s)                                                Bankruptcy Case: 18-22705-rdd

OBJECTION OF QUICKEN LOANS INC. (HEREINAFTER REFERRED TO AS “CREDITOR”)
  TO DEBTOR’S CHAPTER 13 PLAN WITH RESPECT TO TREATMENT OF CREDITOR'S
   CLAIM IN THE FOLLOWING PROPERTY: 3790 OLD CROMPOND ROAD, AND OLD
      CROMPOUND ROAD, CORTLANDT MANOR, NY 10567 (THE “PROPERTY”)

       Creditor, through its undersigned Counsel, who is duly authorized to practice before this Court,
on behalf of Stern & Eisenberg, PC, respectfully requests that the Court deny confirmation of the most
recent Plan filed by Debtor and in support thereof respectfully represent and affirms under penalty of
perjury as follows:

            1. Creditor is the holder of a Note and Mortgage executed by Debtor on August 9, 2013 in
               the amount of $308,175.00. Said loan is secured by the real property owned by Debtor
               located at 3790 OLD CROMPOND ROAD, and OLD CROMPOUND ROAD,
               CORTLANDT MANOR, NY 10567 (the “Property”).

            2. Debtor defaulted on the terms of the Note and Mortgage resulting in the commencement
               of foreclosure proceedings in the Supreme Court of the State of New York, County of
               Westchester on September 29, 2016 under Index: 63980/2016. Judgment of Foreclosure
               and Sale was entered on or about May 1, 2018.

            3. Debtor filed the instant Chapter 13 Bankruptcy on May 9, 2018 and as a result, any State
               Court proceedings, if any, were stayed.

            4. Creditor objects to the Chapter 13 Plan for the following reasons:

                a.       The plan does not provide for the post-petition payments to be made to Creditor
                         in accordance with the terms of the Note and Mortgage.

                b.       The plan, as currently proposed by Debtor, is underfunded in that the plan is
                         insufficient to repay the pre-petition arrears to Quicken Loans Inc. Debtor
                         currently proposes to pay $500/month for 60 months or $30,000 over the life of

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                       the plan. The pre-petition arrears owed to Creditor are approximately
                       $64,276.07. Although Debtor filed a request for loss mitigation, the plan is
                       underfunded if loss mitigation is not approved. Therefore, Creditor reserves its
                       right to object to the confirmation of the plan if the efforts for loss mitigation are
                       unsuccessful.

          5. By proposing to pay the Creditor as proposed, the Plan violates the standards of 11
             U.S.C. 1325(a)(5)(B)(i).

          6. These Objections are made in accordance with the Rules of Bankruptcy Procedure.

WHEREFORE Creditor respectfully requests this Court deny confirmation of the Chapter 13 Plan
together with such other relief this Court deems necessary and appropriate.


                                                      Respectfully submitted,

                                                      STERN & EISENBERG, P.C.

                                                 BY: /s/ Margaret J. Cascino
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Dated: June 6, 2018                                  Attorney for Creditor




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